Case 2:05-md-01657-EEF-DEK Document 62126-1 Filed 02/18/11 Page1of1

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In re: Vioxx® MDL Docket No. 1657
Product Liability Litigation
SECTION L
This document relates to:
Bobbie Lee Thompson, et al. JUDGE FALLON

v.

Merck & Co., Inc. MAGISTRATE JUDGE KNOWLES

Only with regard to:
Carol Gicinto

Docket No. 2:05-cv-04055

* *¥ * &€& &®¥ & ® ® KF RK KF KF KB Ke KX

FR He 2 fe of 2 2 2 2 ee fe 2 2 oe 2 2 2 2 2 2g 2 2k 2 fe 2 2 2k 2 2 2k ok 2k 2k

ORDER OF DISMISSAL WITH PREJUDICE

Considering the foregoing Stipulation of Dismissal With Prejudice,
IT IS ORDERED that the claims of plaintiff Carol Gicinto in the above-captioned case be
and they hereby are dismissed with prejudice with each party to bear his or her own costs.

NEW ORLEANS, LOUISIANA, this day of , 2011.

DISTRICT JUDGE
